             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff            )
                                                )
                    v.                          )      Criminal Action
                                                )      No. 19-MJ-02033-DPR
JASON A. HAMANN,                                )
                                                )
                           Defendant.           )


                                       ORDER


      After the United States orally moved for pretrial detention, a hearing was held in

this matter pursuant to ' 3142(f), Title 18, United States Code. The defendant was present

personally and with his counsel Ann Koszuth, Assistant Federal Public Defender. The

United States was represented by Jody Stockard, Assistant United States Attorney.

      A complaint and supporting affidavit has been filed in this case. The affidavit

supports a finding of probable cause to believe that the offenses charged were committed

by this defendant. The complaint alleges a violation of the Controlled Substances Act, for

which there is a maximum period of imprisonment of ten years or more. There is

therefore a rebuttable presumption that there are no conditions which would reasonably

assure the defendant’s appearance at all proceedings, as required, and the safety of other

persons and/or the community. Based on the evidence presented at the hearing, there are


                                            1



        Case 6:19-mj-02033-DPR Document 11 Filed 04/30/19 Page 1 of 3
no conditions the Court can impose that would reasonably assure the defendant’s

appearance at all scheduled hearings and the safety of other persons or the community.

       The factors to be considered by the Court are enumerated in Title 18, United States

Code, Section 3142(g). The evidence at the hearing established that the weight of the

evidence against defendant is overwhelming.

       Regarding the potential for failure to appear, the Court notes the offense charged

and defendant’s criminal history which includes failure to appear, criminal activity while

under supervision, non-compliance while on probation and supervised release, and use of

aliases. The Court also notes defendant’s substance abuse history and lack of verifiable,

legitimate employment.

       Regarding the potential danger to the community, the Court notes the nature of the

instant offense and defendant’s criminal history which includes, but is not limited to, the

following: prior arrests and convictions; criminal activity while under supervision;

non-compliance while on probation and supervised release; history of weapons use; and,

pattern of similar criminal activity history. In addition, the Court notes defendant’s

substance abuse history.

       Based on all the foregoing, the Courts finds by a preponderance of the evidence that

the defendant is a risk of flight, and finds by clear and convincing evidence that the

defendant is a danger to the community.

       IT IS THEREFORE ORDERED that the defendant be, and is hereby detained

without bail.

                                            2



         Case 6:19-mj-02033-DPR Document 11 Filed 04/30/19 Page 2 of 3
       IT IS FURTHER ORDERED that the defendant be committed to the custody of

the Attorney General or his designated representative for confinement in a correction

facility separate, to the extent practicable, from persons awaiting or serving sentences or

being held in custody pending appeal. The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel. On order of a court of the

United States, or on request of an attorney for the Government, the person in charge of the

corrections facility shall deliver the defendant to the United States marshal for the purpose

of an appearance in connection with a court proceeding.

IT IS SO ORDRED

DATED: April 30, 2019



                                                 /s/ David P. Rush
                                                  DAVID P. RUSH
                                            United States Magistrate Judge




                                             3



         Case 6:19-mj-02033-DPR Document 11 Filed 04/30/19 Page 3 of 3
